UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

GREENVILLE DIVISION
IN RE: )
) Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY 41, )
LLC, d/b/a WASHINGTON COUNTY ) Chapter 11
HOSPITAL, )
)
Debtor. )
)

 

TRUSTEE’S MOTION FOR APPROVAL OF SECOND STIPULATION AND INTERIM
CONSENT ORDER: (1) AUTHORIZING USE OF CASH COLLATERAL, AND
(1) GRANTING ADEQUATE PROTECTION
NOW COMES Thomas W. Waldrep, Jr., Chapter 11 trustee (the “Trustee”) for CAH
Acquisition Company #1, LLC d/b/a Washington County Hospital (the “Debtor’”), by and through
undersigned counsel, and pursuant to Rule 4001 (d) of the Federal Rules of Bankruptcy Procedures,
hereby moves the Court to approve and enter the attached Second Stipulation and Consent Order:
(1) Authorizing Use of Cash Collateral, and (I) Granting Adequate Protection (the “Consent
Order”) between the Debtor and First Capital Corporation (“First Capital”). The Consent Order is
being submitted simultaneously with this Motion, attached hereto as Exhibit 1.
If after proper notification to all parties listed on the Certificate of Service no objections
are filed, the Debtor and First Capital request the Court enter the Consent Order.
Respectfully submitted this the 5th day of April, 2019.
WALDREP LLP
/s/ Thomas W. Waldrep, Jr.
Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
Jennifer B. Lyday (NC Bar No. 39871)
Francisco T. Morales (NC Bar No. 43079)
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- and —
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Proposed attorneys for the Trustee
EXHIBIT

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

GREENVILLE DIVISION
IN RE: )
) Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, )
LLC, d/b/a WASHINGTON COUNTY ) Chapter 11
HOSPITAL, )
)
Debtor. )
)

 

SECOND STIPULATION AND INTERIM CONSENT ORDER (1) AUTHORIZING USE
OF CASH COLLATERAL, AND (I) GRANTING ADEQUATE PROTECTION

Upon the consent of Thomas W. Waldrep, Jr., interim trustee in the above-captioned case
(the “Trustee”), and First Capital Corporation (“First Capital”), the Court, having found and
concluded that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (i)
this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(M), (iii) venue is proper in this
District pursuant to 28 U.S.C. §§ 1408 and 1409, (iv) notice of this Second Stipulation and
Interim Consent Order (I) Authorizing Use of Cash Collateral, and (Il) Granting Adequate
Protection was sufficient under the circumstances, (v) the legal and factual bases set forth herein

establish just cause for the relief granted herein; and (vi) granting the relief requested herein is in
the best interests of the Debtor, its estate, and its creditors, and after due deliberation and

sufficient cause appearing therefore, hereby FINDS as follows:

1. On February 19, 2019 (“Petition Date”), an involuntary Chapter 7 Petition was
filed against debtor CAH Acquisition Company #1, LLC d/b/a Washington County Hospital
(“Debtor”). On February 22, 2019, the Trustee was appointed as interim Chapter 7 Trustee. On
March 15, 2019, Debtor filed a Motion to Convert to Chapter 11, and the Court entered its Order
converting the case to Chapter 11. The Trustee was appointed interim Chapter 11 Trustee.

2. In light of the circumstances, adequate and sufficient notice of the relief requested
herein, as evidenced by the applicable certificates of service filed with the Court and as stated on
the record, have been given in accordance with the provisions of 11 U.S.C. § 363 and
Bankruptcy Rules 2002, and 4001(b). Under the circumstances, no further notice is required.

3. Prior to the Petition Date, First Capital asserts that Debtor was indebted to it
pursuant to the terms and conditions of various loan agreements and documents (collectively, the
“Loan Documents”). As of the Petition Date, First Capital asserts that (i) Debtor was liable to
First Capital in excess of $1,198,910.39 in the aggregate principal amount (exclusive of interest
and fees accrued and unpaid thereon and other costs, expenses and indemnities), and (ii) pursuant
to the Loan Documents, Debtor is liable to the First Capital for accrued and unpaid interest in
addition to all applicable fees, costs, and expenses to the extent allowed under the Loan
Documents and applicable law, including, but not limited to attorneys’ fees and expenses
(collectively, subsections (i), and (ii) of this paragraph are the “Pre-Petition Loan Indebtedness”).

4, As security for repayment of the Pre-Petition Indebtedness, First Capital asserts
that Debtor granted First Capital security interests in, and liens upon, substantially all of their
assets, as more fully described in the Loan Documents, including, without limitation, Debtors’

inventory, chattel paper, accounts receivable, equipment, general intangibles, and the proceeds
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thereof (collectively, including Cash Collateral (as defined below), the “Collateral”). Further,
First Capital asserts Debtor’s cash constitutes proceeds of the Collateral and, therefore, is cash
collateral of First Capital within the meaning of 11 U.S.C. § 363(a) (“Cash Collateral”).

5. The Trustee is in possession and/or control of approximately $2.2 million in cash
of the Debtor (the “Debtor’s Cash”). First Capital asserts that the Debtor’s Cash constitutes its
Cash Collateral. The Trustee is still in the process of verifying the nature, extent and validity of
First Capital’s liens and security interests.

6. An immediate need, however, exists for the Trustee to use the Debtor’s Cash in
order to reopen Washington County Hospital pursuant to the attached two-week expense budget
(the “Reopening Expenses”). The Trustee asserts that the failure of the Trustee to use Debtor’s
Cash (which First Capital asserts is Cash Collateral) to pay the Reopening Expenses would
immediately and irreparably harm the bankruptcy estate and its creditors.

7. To the extent it constitutes its Cash Collateral, First Capital has consented to the
limited and interim use of Debtor’s Cash to pay for the Reopening Expenses pursuant to the
conditions set forth in this Order. The Trustee has agreed to such conditions.

8. Pursuant to [1 U.S.C. § 363(c), to the extent applicable, the Trustee seeks
authority to use Debtor’s Cash to pay the Reopening Expenses on an interim basis. Good cause
has been shown for the immediate entry of this Order. Among other things, the entry of the
Order: (i) will enable the Trustee to reopen Washington County Hospital and avoid immediate
and irreparable harm to the bankruptcy estate; (ii) will allow the parties more time to determine
the cash collateral issues in a thoughtful manner; and (iii) is in the best interests of the
bankruptcy state and its creditors.

NOW, THEREFORE, IT IS HEREBY:

ORDERED that Trustee is granted the use of Debtor’s Cash on a temporary basis to pay
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the Reopening Expenses, unless specifically prohibited by this Order.

IT IS FURTHER ORDERED that the Trustee shall not use any of Debtor’s Cash except
as expressly authorized and permitted herein or by subsequent order of the Court or by further
Stipulation with First Capital.

IT IS FURTHER ORDERED, that the Trustee’s interim use of the Debtor’s Cash is
expressly conditioned upon the following:

a. Nothing in this Order shall prejudice rights or remedies of First Capital to assert
that the Debtor’s Cash constitutes the Cash Collateral of First Capital or seeking an official
determination from the Court that the Debtor’s Cash is its Cash Collateral or the right and ability
of the Trustee to assert a contrary position;

b. The Trustee shall within seven (7) days of this Order provide First Capital an
accounting of the Debtor’s Cash including the sources of such cash;

The Trustee shall segregate and shall not commingle the Debtor’s Cash with cash
from related debtors or entities;

d. The Trustee shall provide a monthly report to First Capital of the bankruptcy
estate’s accounts receivable, cash funds, and inventory. First Capital shall have the right to
examine all of Debtor’s books and records and the Collateral, including bank records relating to
prepetition and post-petition time periods, upon five (5) business days advance notice, during
normal business hours;

e. As adequate protection for the use of First Capital’s Collateral, First Capital shall
be granted the following Replacement and Additional Liens subject to the limitations as imposed
by this Order (the “Adequate Protection Liens”):

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(i) Replacement Liens. First Capital is hereby granted replacement security
interests in, and liens on, all post-Petition Date acquired property of the Debtor and the
Debtor’s bankruptcy estate that is the same type of property that First Capital’s holds a

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duly perfected pre-Petition Date lien including, without limitation, accounts, inventory,
equipment, and proceeds (the “Replacement Liens”). The amount of First Capital’s
Replacement Liens shall be up to the amount of its indebtedness. The priority of the
Replacement Liens shall be in the same priority as First Capital’s pre-Petition liens and
security interests on similar collateral.

(ii) Senior Additional Liens on Unencumbered Property. First Capital is
hereby granted senior additional first priority security interests in and liens upon (“Senior
Additional Liens”) all pre-petition and post-petition property of Debtor and Debtor’s
bankruptcy estate of any nature whatsoever and wherever located, tangible or intangible,
whether now or hereafter acquired, whether existing on the Petition Date or thereafter
acquired and all proceeds thereof (the “Additional Collateral”), that, on or as of the
Petition Date, is not already subject to (1) an existing valid lien or security interest not
otherwise subject to avoidance (“Existing Liens”); or (2) a Replacement Lien. For the
avoidance of doubt, Additional Collateral shall not include Chapter 5 causes of action.

(iii) Junior Additional Liens on Encumbered Property. First Capital is hereby
granted junior additional security interests in and liens upon on all Additional Collateral
that is subject to an Existing Lien or Replacement Lien (“Junior Additional Liens”,
together with the Senior Additional Liens, the “Additional Liens”); provided, however,
that to the extent that the obligations owed to First Capital are secured by liens that are
senior to the Existing Liens that such liens will retain their senior and superior status over
the Existing Liens.

(iv) Amount and Priority of Additional Liens. The Additional Liens shall be up
to the amount of any diminution of First Capital’s respective collateral position from the
Petition Date. The Adequate Protection Liens shall not be (1) subject and subordinate to
any liens arising after the Petition Date including, without limitation, any liens or security
interests granted in favor of any federal, state, municipal or other governmental unit,
commission, board, or court for any liability of the Debtor or (ii) subordinated to or made
pari passu with any other lien or security interest including those granted under 11 U.S.C.
§§ 363 or 364 without the consent of First Capital.

(v) Automatic Perfection. The Adequate Protection Liens shall be effective
and perfected upon the date of entry of this Order without necessity for the execution or
recordation of filings of deeds of trust, mortgages, security agreements, control
agreements, pledge agreements, financing statements or similar documents, or the
possession or control by First Capital of, or over, any property subject to the Adequate
Protection Liens. First Capital is hereby authorized, but not required, to file or record
financing statements, intellectual property filings, mortgages, depository account control
agreements, notices of lien or similar instruments in any jurisdiction in order to validate
and perfect the liens and security interests granted to them hereunder. Any error or
omission in such documents shall in no way affect the validity, perfection or priority of
the Adequate Protection Liens. Whether or not First Capital shall, in its sole discretion,
choose to file such financing statements, intellectual property filings, mortgages, notices
of lien or similar instruments, such liens and security interests shall be deemed valid,
perfected, allowed, enforceable, non-avoidable and not subject to challenge, dispute
or subordination as of the date of entry of this Interim Order. If First Capital determines

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to file or execute any financing statements, agreements, notice of liens or similar
instruments, the Trustee will cooperate and assist in any such execution and/or filings as
reasonably requested by First Capital, and the automatic stay shall be modified to allow
such filings.

f. To the extent that the liens granted in subparagraph (e) above prove inadequate to
protect First Capital from a demonstrated diminution in value of collateral position from the
Petition Date, First Capital is hereby granted an administrative expense claim under Section
503(b) of the Bankruptcy Code with priority in payment under Section 507(b), to the fullest
extent allowed under applicable law, over any and all administrative expenses of the kinds
specified or ordered under any provisions of the Bankruptcy Code, including Sections 105, 326,
328, 330, 331, 503, 507(a), 726, 1113 or 1114, and shall at all times be senior to the rights of the
Trustee, Debtor, and any successor trustee or any creditor, in the Chapter 11 Case or any
subsequent proceeding, including without limitation a Chapter 7 proceeding, under the
Bankruptcy Code (“Superpriority Claims”).

g. Nothing herein shall prohibit any party, including the Trustee, from challenging
the amount of First Capital’s claims or the nature, extent, and priority of First Capital’s pre-
petition security interests in, and liens on, the Debtor’s property. The Trustee and First Capital
anticipate that they may disagree upon the proper manner of calculating or ascertaining the
diminution of the value of First Capital’s collateral position. The Trustee and First Capital have
agreed to keep the manner of calculating or ascertaining the diminution in value of First
Capital’s collateral an open question and nothing in this Order waives, restricts, or prejudices the
ability of any otherwise appropriate party to raise issues regarding diminution of value should
such be asserted by First Capital for purposes of asserting an Additional Lien or a Superpriority
Claim.

h. The adequate protection granted in this Interim Order is without prejudice to First
Capital seeking further and other adequate protection to the extent it deems the same necessary
and appropriate. Further, this Order is without prejudice to (i) First Capital seeking the early
termination of Trustee’s use of Debtor’s Cash prior to the expiration/termination of this Order for
cause, including lack of adequate protection; or (ii) Trustee opposing such early termination.

i, The Trustee shall continue to maintain the types and amounts of insurance on all
its property and assets as required by the Loan Documents. Further, the Trustee shall continue
and maintain, in substantially similar fashion, all the types and amounts of insurance that are
currently in place as such insurance relates to liability for professional or medical negligence,
misconduct and/or malpractice.

IT IS FURTHER ORDERED that this Order shall expire and Debtors’ right to use Cash
Collateral shall terminate, unless extended by further order of this Court or by express written
consent of First Capital, on the earlier of (i) April 30, 2019; (ii) the failure of the Trustee or
Debtor to comply with any provision of this Order; (iii) the entry of an order authorizing, or there
shall occur, a conversion or dismissal of this under Section 1112; (iv) the closing of a sale of all
or a substantial portion of the assets of the Debtor; (v) entry of an order granting, or there shall
arise, a security interest, mortgage, lien, claim, charge, or encumbrance which is equal or senior
to the Adequate Protection Liens; (vi) entry of an order granting, or there shall arise, a claim that
is equal or senior to the Superpriority Claim; or (viii) any material provision of this Order for any
reason ceases to be enforceable, valid, or binding upon the Trustee, Debtor, or any party so
asserts in writing. Notwithstanding the occurrence of a Termination Event, the rights and
remedies of First Capital with respect to all transactions which have arisen prior to the
termination date including, without limitation, any liens, security interests, or claims granted by
this Interim Order, shall remain unimpaired and unaffected by any such expiration and shall

survive such expiration.
IT IS FURTHER ORDERED that to be effective any waiver by First Capital of the
provisions of this Order or consent required under this Order must be in writing, which includes
electronic mail.

If IS FURTHER ORDERED that the provisions of this Order and the adequate
protection granted herein shall also extend to any Cash Collateral used by the Trustee or Debtor
subsequent to the Petition Date, but prior to entry of this Order.

IT IS FURTHER ORDERED that the provisions of this Order shall be binding upon
and inure to the benefit of First Capital, the Trustee, the Debtor, and their respective successors
and assigns (including without limitation, any subsequent or successor Chapter 11 or Chapter 7
trustee, examiner, or other fiduciary hereafter appointed for the Debtor or with respect to any of
the Debtor’s property); provided, however, nothing herein shall prohibit any party from
challenging the nature, extent and priority of First Capital’s security interests in, and liens on, the
Collateral.

IT IS FURTHER ORDERED that this Interim Order shall become effective and
enforceable upon approval and entry as an order of the Bankruptcy Court. If any provision of
this Interim Order is hereafter modified, vacated, or stayed by subsequent order of this or any
other Court for any reason, such modification, vacation, or stay shall not affect the validity of
any obligation or liability incurred pursuant to this Interim Order and prior to the later of (a) the
effective date of such modification, vacation, or stay, or (b) the entry of the order pursuant to
which such modification, vacation, or stay was established, nor the validity, priority, or
enforceability of any lien or claim granted by Debtors to First Capital. The liens and claims
granted to First Capital under this Interim Order, and the priority thereof, shall be binding
(subject to the terms of this Interim Order) on the Trustee, the Debtor, the bankruptcy estate, any

subsequent trustee or examiner, and all creditors of the Debtor.

8
WE CONSENT:
WALDREP LLP

/s/Thomas W Waldrep, Jr.

Thomas W. Waldrep, Jr. (NC State Bar No. 11135)

1018. Stratford Road, Suite 210, Winston-Salem, NC 27104
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Attorneys for the Trustee

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/s/Eric L. Johnson

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Attorney for First Capital Corporation

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A Gc
1 Washington County
2 April 2019 2 week Expenses
3 nt
4
§ Expenses
6 |Payroll: Weekly Pay Period
7 Admin|$10,108 $20,215
8 Clinical]$1,262 $2,523
9 Providers|$5,560 $11,120
10 Total Payroll: $16,930 $33,858
11 ;
12 |Supplies: SO a
All Medical Supplies--syringes, bandaids, tape, 2x2, 4x4,
basins, urinals, fracture pans, suction supplies,
primary/secondary lines, J-lubes, trach care kits, central
line kits, chest tube drainage system (2),suture kits,
13 suture removal kits,/$6,800
14 Pharmacy Medications, oral and IV Contrast for Xray|$6,539
15 Intraosseous needles for the ER}$1,000
16 Oxygen|$2,000
Linen Services--50 towels=22.50; 50 Washcloth=7.00; 50
microfiber mop=25.00; 6 Dust mop=6.60; 50 Microfiber
cleaning cloths=11.00;125 Thermal blanks=162.50;150
Flat sheets=72.00;150 Fitted sheets=72.00;3 Wet mop
handle=0.75; 3 Wet mop frame=1.20; 3 Ped Small
Gown=1.38; 3 Ped Med Gown=1.38; 3 Ped Large
17 Gown=1.38;150 Pillow cases=36.00;/$516
Paper towels, toilet paper, and hand soap--380, Office
18 supplies--60, Postage--110|$550
19 Supplies Total $17,405
20
21 |LAB Operations:
22 Chemistry Reagents/Maintenance Supplies|$10,000
23 Medical Review Officer]$188
24 Serology reagents and collection supplies|$10,000
25 Coagulation supplies|$1,100
26 ' Hematology reagents |$2,000
27 O Negative Blood|$2,000
28 Blood gas and backup chemistry cartridges & controls|$3,260
29 Coagulation reagents for 1 year|$8,327
30 Lab Proficiency Testing|$1,446
31 Total Lab Expenses $38,321
32

 

 

33

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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34 | Professional Fees:
35 Dr. William Balance--Lab Medical Director|/$1,500
36 Dr. Robert Venable--Medical Director |$2,500
37 7 Total Professional Fees $4,000
38
39 | Purchased Services:
AQ Documentation Templates |$400
Al Transcription Services|S800
42 Background checks|$210
43 Drug screenings|$261
44 Clearinghouse Activation Fee|$2,500
45 Pest Control|$186
AG Total Purchased Services $4,357
47
48 | Maintenance:
49 | Gas for mowers-100, ceiling tiles--120, ink cartridges-500/$720
50 Hot water heater replacement for RHC|S$440
51 Physicist Inspection|$1,701
52 Maintenance--CT Scanner PM|$2,000
53 Portable Xray equipment PM|$1,400
54 Equipment inspections|$1,700
55 AC repair|$2,000
56 Mammo equipment repairs|/$4,973
57 FDA Inspection for Mammo|$1,400
58 Telemetry System Lease |$2,260
59 Total Maintenance $18,594
60
61 | Utilities:
62 LP Gas}$500
63 Electricity |$2,393
64 Total Utilities $2,893
65
66 |Compliance:
Damper Repairs-Fire Door Solutions is holding the
reports of their inspection until the 2550 is paid. To
67 prevent paying for Schneider to do another inspection.|$2,550
68 Fire Extinguishers|$226
69 Total Compliance $2,776
70
71 |Community Outreach:
fz Opening Day Refreshments - Community Participation $1,000
73
74 Total Operating Expenses «$123,204

 

 

 
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
GREENVILLE DIVISION

IN RE:
Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1,
LLC, d/b/a WASHINGTON COUNTY
HOSPITAL,

Chapter 11

Debtor.

a ee

 

NOTICE OF MOTION

NOTICE IS HEREBY GIVEN of the TRUSTEE’S MOTION FOR APPROVAL OF
SECOND STIPULATION AND INTERIM CONSENT ORDER: (J) AUTHORIZING USE
OF CASH COLLATERAL, AND (ID GRANTING ADEQUATE PROTECTION (“Motion”)
filed simultaneously herewith in the above captioned case; and,

FURTHER NOTICE IS HEREBY GIVEN that this Motion may be allowed provided no
responses and request for a hearing is made by a party in interest in writing to the Clerk of this
Court by 4:00p.m. on April 9, 2019; and,

FURTHER NOTICE IS HEREBY GIVEN, that a hearing will be conducted on the motion
and any response thereto on Wednesday, April 10, 2019 at 1:00 p.m. at the United States
Bankruptcy Court, 150 Reade Circle, Greenville, North Carolina. Any party requesting a
hearing shall appear at said hearing in support of such request or he may be assessed Court costs.
If no request for a hearing is timely filed, the Court may rule on the Motion and response thereto
ex parte without further notice. Any party filing an objection requesting a hearing, shall appear at
said hearing or they may be taxed with Court costs

DATED: April 5, 2019 WALDREP LLP

/s/ Thomas W. Waldrep, Jr.

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Proposed Attorneys for the Trustee
CERTIFICATE OF SERVICE

I, Thomas W. Waldrep, Jr., 101 S. Stratford Road, Suite 210, Winston Salem, North
Carolina 27104, certify: |
That I am, at all times hereinafter mentioned, was, more than eighteen (18) years of age;

That on the Sth day of April, 2019, I served copies of the foregoing pleading on the parties
listed below and attached Exhibit “A”, by depositing a copy of the same in the United States mail
bearing sufficient postage.

I certify under penalty of perjury that the foregoing is turn and correct.

Dated: April 5, 2019 WALDREP LLP
/s! Thomas W. Waldrep, Jr.
Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
Jennifer B. Lyday (NC Bar No. 39871)
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Counsel for Washington County, NC
Counsel for Robert Venable, M.D.

Katherine M. McCraw
Counsel for NC DHHS

Stephen W. Petersen
Jeffrey R. Whitley
Counsel for First Capital Corporation

(via CM/ECF)

(via CM/ECF)

(via CM/ECF)

(via CM/ECF)

(via CM/ECF)
Label Matrix for local noticing
0417-5

Case 19-00730-5-JNC

Eastern District of North Carolina
Raleigh

Fri Apr 5 14:34:59 EDT 2019

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c/o Corporation Service Co, Reg. Agent
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Attn: Noel Mijars

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Marjorie K. Lynch

Bankruptcy Administrator

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434 Fayetteville Street, Ste. 640
Raleigh, NC 27601

Internal Revenue Service
Insolvency Support Services
320 Federal Place, Room 335
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